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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
       __________________________________________
                                                  )
       ERIC SWALWELL,                             )
                                                  )
                   Plaintiff,                     )
                                                  )
             v.                                  )
                                                 ) Case No. 1:21-cv-00586-APM
       DONALD J. TRUMP, et al.,                  )
                                                 )
                                                 )
                   Defendants.                   )
                                                  )

  PLAINTIFF’S MOTION FOR ADDITIONAL TIME TO SERVE THE COMPLAINT
         AND FOR OTHER RELIEF AS TO DEFENDANT MO BROOKS
       Plaintiff Eric Swalwell, through undersigned counsel, and pursuant to Fed. R. Civ. P. 4,

seeks additional time in which to serve the summons and complaint in this matter on Defendant

Mo Brooks. In support of this motion, Plaintiff states as follows:

       Plaintiff filed the complaint in this case on March 5, 2021. (ECF Dkt. No. 1.) Under the

federal rules, Plaintiff is required to serve each defendant with a summons and a copy of the

complaint within 90 days of the filing of the complaint – in this case, by June 5, 2021. Fed. R.

Civ. P. 4(m). However, upon a showing of good cause, the Court “must extend the time for

service for an appropriate period.” Id.

       For the reasons described below, and for good cause shown, Plaintiff seeks an extension

of sixty (60) days to serve Defendant Mo Brooks in light of his ongoing refusal to waive service

and the inherent difficulties of attempting service on a sitting Member of Congress. Further,

Plaintiff requests that the Court order that service be accomplished by a United States marshal –

or anyone else specially appointed by the Court – because of the special circumstances here. See
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Fed. R. Civ. P. 4(c)(3). Finally, Plaintiff reserves the right to seek recovery of costs associated

with his efforts to serve Brooks. See Fed. R. Civ. P. 4(d)(2).

       1.       Mo Brooks unquestionably knows about the instant lawsuit. Just hours after it

was filed, Brooks tweeted a series of baseless accusations against Plaintiff in response:




         And yet, Brooks has refused to waive service or even speak to undersigned counsel

about the case. In stark contrast, Defendant Rudolph Giuliani waived service on March 18, 2021

(ECF Dkt. No. 11) and Defendants Donald J. Trump and Donald J. Trump Jr. waived service

shortly thereafter, on March 24. (ECF Dkt. Nos. 9, 10.) Moreover, Trump, Trump Jr., and

Giuliani have already moved for dismissal of the complaint, and the Court recently approved the

parties’ proposed briefing schedule under which these motions will be fully briefed by July 22.

(May 31, 2021 Minute Order of the Court.)

       2.       After receiving the waiver forms from the other Defendants, Plaintiff’s counsel,

Philip Andonian, contacted Defendant Brooks’ Washington, D.C. office to ask if Brooks was

also willing to waive service. Counsel spoke to two different staff members on two separate

occasions, and each time was promised a return call that never came. On April 21, 2021, counsel

emailed Brooks (care of his Chief of Staff and chief Counsel) a formal waiver request and

attached a copy of the complaint and a pre-filled Waiver of Service form. Counsel further

                                                  2
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informed Brooks of the adverse consequences of his refusal to waive. See Fed. R. Civ. P. 4(d).

A copy of this email is attached here as Exhibit A. To date, neither Brooks nor any member of

his staff has responded to this request.

       3.       Given Brooks’ refusal to waive service, Plaintiff had to engage the services of a

private investigator to attempt to serve Brooks personally – a difficult feat under normal

circumstances that has been complicated further in the wake of the January 6 insurrection at the

Capitol that Defendants incited. Indeed, until very recently, public access to the Capitol grounds

– including the Rayburn House Office Building, where Brooks’ office is located – has been

completely cut off, with only Members of Congress and their credentialed staff having access. 1

       4.       Plaintiff’s investigator has spent many hours over many days in April and May at

locations in multiple jurisdictions attempting to locate and serve Brooks, to no avail. 2 Plaintiff

has borne all costs associated with these efforts.

       5.       Because Brooks has refused to waive service, and given the ongoing difficulties

serving Brooks directly, Plaintiff believes it is unlikely that he will serve Brooks before the

current June 5 deadline. Accordingly, Plaintiff seeks an additional period of sixty (60) days in

which to serve Brooks, and also requests that the Court order the assistance of the United States

Marshals Service (or other individual or entity designated by the Court) to accomplish service.




1
       E.g., https://www.washingtonpost.com/local/a-more-solemn--and-secure--us-capitol-two-
days-after-riot/2021/01/08/9a35e5c2-51da-11eb-bda4-615aaefd0555_story.html
2
        Plaintiff intentionally omits details of the specific steps taken to personally serve Brooks
since these efforts are ongoing.
                                                     3
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                                          Conclusion

       For the foregoing reasons, Plaintiff requests that this motion be granted and the requested

relief ordered.

Dated: June 2, 2021                                 Respectfully submitted,


        /s/ Philip Andonian                                 /s/ Matthew Kaiser
CALEBANDONIAN PLLC                                  KAISERDILLON PLLC
Philip Andonian (D.C. Bar No. 490792)               Matthew Kaiser (D.C. Bar No. 486272)
Joseph Caleb (D.C. Bar No. 495383)                  Sarah Fink (D.C. Bar No. 166663)
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        joe@calebandonian.com                               sfink@kaiserdillon.com




        /s/ Barry Coburn
COBURN & GREENBAUM PLLC
Barry Coburn (D.C. Bar No. 358020)
Marc Eisenstein (D.C. Bar No. 1007208)
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Email: barry@coburngreenbaum.com
        marc@coburngreenbaum.com


Attorneys for Plaintiff Eric Swalwell




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                       EXHIBIT A




                              5
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Philip Andonian

From:                       Philip Andonian <phil@calebandonian.com> on behalf of Philip Andonian
Sent:                       Wednesday, April 21, 2021 3:55 PM
To:                         marshall.yates@mail.house.gov; sean.griffin@mail.house.gov
Cc:                         Joseph Caleb
Subject:                    Swalwell v. Trump, et al. (D.C. District Court Case No. 1:21-cv-586)
Attachments:                2021-04-21 M. Brooks - Waiver of Service.pdf; Complaint.pdf

Importance:                 High



Dear Messrs. Yates and Griffin:

I represent Congressman Eric Swalwell in the above-captioned case, in which Congressman
Brooks has been named as a defendant. I am reaching out to you both (Mr. Brooks’ Chief of Staff
and Counsel, respectively, as I understand) in the absence of any means of direct contact with
Mr. Brooks. I have called Mr. Brooks’ D.C. office on two prior occasions asking to speak with
someone regarding the lawsuit, but to date my requests have gone unanswered.

Pursuant to Rule 4(d) of the Federal Rules of Civil Procedure, I am asking if Mr. Brooks is
willing to waive formal service of the summons and complaint in this matter. I have attached a
file-stamped copy of the complaint for your reference, as well as a pre-filled copy of a Waiver of
the Service of Summons form. For your convenience, I am happy to accept an electronic copy of
the executed waiver form, which you can return to me via email at this address.

Pursuant to Rule 4, Mr. Brooks will have 60 days from today’s date (April 21) to respond to the
complaint. Because that date, June 20, falls on a Sunday, Mr. Brooks’ response therefore would
be due on Monday, June 21. Please note that Mr. Brooks has an obligation under the rule to
avoid unnecessary expenses associated with formal service of the summons and
complaint. Absent a showing of “good cause” – which does not include a belief that the lawsuit
lacks merit or is in the wrong venue, or that the district court lacks jurisdiction – Mr. Brooks will
be liable for all costs associated with formal service if he elects not to sign and return the
attached waiver form. We are already in contact with counsel for the other defendants in the
case, all of whom have agreed to waive service, and we now are attempting to reach an
agreement on a reasonable schedule for the defendants’ responses to the complaint. It would
help to streamline things to have Mr. Brooks’ participation in that process.

Please advise as soon as possible whether Mr. Brooks will agree to waive service, but in any
event no later than COB on May 21. If you have any questions or concerns, please do not
hesitate to contact me.

Sincerely,

Philip Andonian | Member
CALEBANDONIAN PLLC
1100 H Street, N.W., Suite 315, Washington, D.C. 20005


                                                    1
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O: 202.953.9850 • D: 202.953.9848 • C: 202.368.4124 • F:
202.217.4100 phil@calebandonian.com • www.calebandonian.com


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                                     Certificate of Service

       I hereby certify that on this 2nd day of June, 2021, the foregoing Motion for Additional

Time to Serve the Complaint was served upon all parties of record by the Court’s CM/ECF

system.

                                                    /s/ Philip Andonian
                                                    Philip Andonian
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
Representative ERIC SWALWELL,              )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  ) Case No. 1:21-cv-00586-APM
                                           )
DONALD J. TRUMP, et. al.,                  )
                                           )
              Defendants.                  )
                                           )

                                   [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion for Additional Time to Serve the Complaint on

Defendant Mo Brooks, it is hereby ORDERED that the Motion is GRANTED. Plaintiff shall

have an additional sixty (60) days in which to serve Defendant Brooks. The Court further orders

that service may be accomplished by the United States Marshals Service.

SO ORDERED.



DATE: _________________________                           _____________________________
                                                          Hon. Amit P. Mehta
                                                          United States District Judge
